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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF GEORGIA
                                  COLUMBUS DIVISION

STANLEY MORGAN,

       Plaintiff,

v.                                                  CASE NO.:

VERIZON WIRELESS SERVICES, LLC,

       Defendant.
                                     /

                                          COMPLAINT

       COMES NOW, Plaintiff, STANLEY MORGAN, by and through the undersigned counsel,

and sues Defendant, VERIZON WIRELESS SERVICES, LLC, and in support thereof

respectfully alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.

(“TCPA”).

                                         INTRODUCTION

        1.      The TCPA was enacted to prevent companies like VERIZON WIRELESS

SERVICES, LLC from invading American citizen’s privacy and to prevent abusive “robo-calls.”

        2.      “The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).

        3.      “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

modern civilization, they wake us up in the morning; they interrupt our dinner at night; they

force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the

wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone




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subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm

Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014).

       4.       According to the Federal Communications Commission (FCC), “Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to the

FCC every month on both telemarketing and robocalls. The FCC received more than 215,000

TCPA complaints in 2014." Fact Sheet: Wheeler Proposal to Protect and Empower Consumers

Against Unwanted Robocalls, Texts to Wireless Phones, Federal Communications Commission,

(May 27, 2015), https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.

                                 JURISDICTION AND VENUE


        5.      Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

        6.      Subject matter jurisdiction, federal question jurisdiction, for purposes of this

action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts

shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See

Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,

746 F.3d 1242, 1249 (11th Cir. 2014).

       7.       The alleged violations described herein occurred in Harris County, Georgia.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the

judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.




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                                  FACTUAL ALLEGATIONS

       8.      Plaintiff is a natural person, and citizen of the State of Georgia, residing in Harris

County, Georgia.

       9.      Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014).

       10.     Defendant, VERIZON WIRELESS SERVICES, LLC, is a corporation which was

formed in Delaware with its principal place of business located at One Verizon Way, Basking

Ridge, NJ, 07920 and which conducts business in the State of Georgia through its registered

agent, C T CORPORATION SYSTEM, located at 1201 Peachtree Street, NE, Fulton, Atlanta,

GA, 30361.

       11.     VERIZON WIRELESS SERVICES, LLC called Plaintiff approximately one-

hundred and fifty (150) times since revocation in February 2016, in an attempt to collect a debt.

       12.     Upon information and belief, some or all of the calls VERIZON WIRELESS

SERVICES, LLC made to Plaintiff’s cellular telephone number were made using an “automatic

telephone dialing system” which has the capacity to store or produce telephone numbers to be

called, using a random or sequential number generator (including but not limited to a predictive

dialer) or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §

227(a)(1) (hereinafter “autodialer calls”). Plaintiff will testify that his knew it was an autodialer

because of the vast number of calls he received and because he heard a pause when he answered

his phone before a voice came on the line and/or he received prerecorded messages from

VERIZON WIRELESS SERVICES, LLC.




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        13.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (706) ***-2617 and was the called party and recipient of Defendant’s calls.

        14.     Beginning on or about February 2016, VERIZON WIRELESS SERVICES, LLC

began bombarding Plaintiff’s cellular telephone (706) ***-2617 in an attempt to reach an

individual known only as Jason Smith.

        15.     Plaintiff does not currently know, nor has ever known, an individual by the name

of Jason Smith.

        16.     Plaintiff does not currently have any account or business dealings with VERIZON

WIRELESS SERVICES, LLC.

        17.     VERIZON WIRELESS SERVICES, LLC has a corporate policy to use an

automatic telephone dialing system or a pre-recorded or artificial voice to individuals just as they

did to Plaintiff’s cellular telephone in this case.

        18.     VERIZON WIRELESS SERVICES, LLC has a corporate policy to use an

automatic telephone dialing system or a pre-recorded or artificial voice, just as they did to the

Plaintiff’s cellular telephone in this case, with no way for the consumer, or VERIZON

WIRELESS SERVICES, LLC, to remove the number.

        19.     VERIZON WIRELESS SERVICES, LLC’s corporate policy is structured so as to

continue to call individuals like Plaintiff, despite these individuals explaining to VERIZON

WIRELESS SERVICES, LLC they do not wish to be called.

        20.     VERIZON WIRELESS SERVICES, LLC has numerous other federal lawsuits

pending against them alleging similar violations as stated in this Complaint.




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         21.    VERIZON WIRELESS SERVICES, LLC has numerous complaints against it

across the country asserting that its automatic telephone dialing system continues to call despite

being requested to stop.

         22.    VERIZON WIRELESS SERVICES, LLC has had numerous complaints against it

from consumers across the country asking to not be called, however Defendant continues to call

these individuals.

         23.    VERIZON WIRELESS SERVICES, LLC’s corporate policy provided no means

for Plaintiff to have Plaintiff’s number removed from VERIZON WIRELESS SERVICES, LLC

call list.

         24.    VERIZON WIRELESS SERVICES, LLC has a corporate policy to harass and

abuse individuals despite actual knowledge the called parties do not wish to be called.

         25.    Not one of VERIZON WIRELESS SERVICES, LLC’s telephone calls placed to

Plaintiff were for “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

         26.    VERIZON WIRELESS SERVICES, LLC willfully and/or knowingly violated the

TCPA with respect to Plaintiff.

         27.    From each and every call placed without express consent by VERIZON

WIRELESS SERVICES, LLC to Plaintiff’s cell phone, Plaintiff suffered the injury of invasion

of privacy and the intrusion upon his right of seclusion.

         28.    From each and every call without express consent placed by VERIZON

WIRELESS SERVICES, LLC to Plaintiff’s cell phone, Plaintiff suffered the injury of the

occupation of her cellular telephone line and cellular phone by unwelcome calls, making the




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phone unavailable for legitimate callers or outgoing calls while the phone was ringing from

VERIZON WIRELESS SERVICES, LLC call.

       29.     From each and every call placed without express consent by VERIZON

WIRELESS SERVICES, LLC to Plaintiff’s cell phone, Plaintiff suffered the injury of

unnecessary expenditure of his time. For calls he answered, the time she spent on the call was

unnecessary as he repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had

to waste time to unlock the phone and deal with missed call notifications and call logs that reflect

the unwanted calls. This also impaired the usefulness of these features of Plaintiff’s cellular

phone, which are designed to inform the user of important missed communications.

       30.     Each and every call placed without express consent by VERIZON WIRELESS

SERVICES, LLC to Plaintiff’s cell phone was an injury in the form of a nuisance and annoyance

to the Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of

answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the phone and

deal with missed call notifications and call logs that reflected the unwanted calls. This also

impaired the usefulness of these features of Plaintiff’s cellular phone, which are designed to

inform the user of important missed communications.

       31.     Each and every call placed without express consent by VERIZON WIRELESS

SERVICES, LLC to Plaintiff’s cell phone resulted in the injury of unnecessary expenditure of

Plaintiff’s cell phone’s battery power.

       32.     Each and every call placed without express consent by VERIZON WIRELESS

SERVICES, LLC to Plaintiff’s cell phone where a voice message was left which occupied space

in Plaintiff’s phone or network.



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        33.     Each and every call placed without express consent by VERIZON WIRELESS

SERVICES, LLC to Plaintiff’s cell phone resulted in the injury of a trespass to Plaintiff’s chattel,

namely her cellular phone and her cellular phone services.

        34.     As a result of the answered and unanswered calls described above, Plaintiff

suffered an invasion of privacy; Plaintiff was also affected in a personal and individualized way

by stress, anxiety, nervousness, embarrassment, distress and aggravation. Due to both answered

and unanswered calls, Plaintiff suffered the expenditure of Plaintiff’s time, exhaustion of

Plaintiff’s cellular telephone battery, unavailability of Plaintiff’s cellular telephone while ringing,

waste of Plaintiff’s time, causing risk of personal injury due to distraction and trespass upon

Plaintiff’s chattels. All of the abovementioned were caused by, and/or directly related to,

Defendant’s attempts to collect a debt from the Plaintiff through the use of automated/predictive

dialing technology.

                                            COUNT I
                                     (Violation of the TCPA)

        35.     Plaintiff fully incorporates and realleges paragraphs one (1) through thirty-four

(34) as if fully set forth herein.

        36.     VERIZON WIRELESS SERVICES, LLC willfully violated the TCPA with

respect to Plaintiff, specifically for each of the auto-dialer calls made to Plaintiff’s cellular

telephone after Plaintiff notified VERIZON WIRELESS SERVICES, LLC that Plaintiff wished

for the calls to stop

        37.     VERIZON WIRELESS SERVICES, LLC repeatedly placed non-emergency

telephone calls to Plaintiff’s cellular telephone using an automatic telephone dialing system or




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prerecorded or artificial voice without Plaintiff’s prior express consent in violation of federal

law, including 47 U.S.C § 227(b)(1)(A)(iii).

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against VERIZON WIRELESS SERVICES, LLC for statutory damages, punitive

damages, actual damages, treble damages, enjoinder from further violations of these parts and

any other such relief the court may deem just and proper.

                                               Respectfully submitted,

                                               /s/Octavio Gomez, Esquire
                                               Octavio “Tav” Gomez, Esquire
                                               Georgia Bar #: 617963
                                               Morgan & Morgan, Tampa, P.A.
                                               201 North Franklin Street, 7th Floor
                                               Tampa, FL 33602
                                               Telephone: (813) 223-5505
                                               Facsimile: (813) 223-5402
                                               tgomez@forthepeople.com
                                               amferrera@forthepeople.com
                                               amoore2@forthepeople.com
                                               Attorney for Plaintiff




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